                  UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF NORTH CAROLINA

                          NO. 1:20-CR-00041-MR-DC

UNITED STATES,                  )
  PLAINTIFF                     )
                                ) M. Reidinger, USDJ
v.                              ) D. Keesler, USMJ
                                )
FREDRICK THOMAS GETTINS STROHM, )
   DEFENDANT                    )
                 ____________   )

                  MEMORANDUM IN SUPPORT OF
             MOTION TO EXTEND SELF-SURRENDER DATE

     FREDRICK THOMAS GETTINS STROHM, by and through undersigned

counsel, respectfully submits this Memorandum in Support of his Motion to

Extend Surrender Date [Doc. 33].

     Mr. Strohm is 41-year-old with many years of tobacco use and

dependence. While otherwise generally healthy, the Centers for Disease

Control and Prevention (“CDC”) recognize that his smoking – and almost

certain nicotine dependence1 – as an underlying medical condition that



   1 See, e.g., Benowitz, M.D., “Nicotine Dependence,” N Engl J Med.; 362(24): 2295–2303
(6/17/2010) [https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2928221/ , 3/16/2021].




      Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 1 of 13
increases risks from COVID-19. Mr. Strohm is eligible for vaccination per the

North Carolina Department of Health and Human Services (“NCDHHS”) as of

tomorrow, March 17, in a fourth category eligible for still limited inoculations.

    Strohm faces an 18-month sentence of routine incarceration for an

embezzlement offense. There is no violence anywhere in Mr. Strohm’s

history. In fact, this Court has graced Mr. Strohm with an unsecured

appearance bond since he entered his guilty plea in September 2020.

    This Court also graced Mr. Strohm with the privilege of self-surrender,

once the U.S. Marshals notified him of his time and place of imprisonment. See

Doc. 28 (Judgment) at 2 (filed 2/22/2021). Rather than the many weeks this

was expected to take, though, the Marshals notified Strohm of the Bureau of

Prisons’ (“BOP”) decision on or about March 1, 2021 – the week after the

judgment’s entry into the record. He is set to surrender on March 22, 2021.

    Besides attending to remaining, important personal affairs, and

transitioning his two children to a life without their father, Mr. Strohm can

now receive vaccination against COVID-19 before his self-surrender – with

enough time. Mr. Strohm can enter prison with minimum risks to himself and

others, if he can get more time before his surrender to get vaccinated.



                                        2


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 2 of 13
                 A.    NOVEL CORONAVIRUS – EFFECTS AND CAUSES

    “COrona Virus Infectious Disease 2019,” or COVID-19, was first noticed to

kill through widespread lung damage. But the virus also thickens blood,

which increases risks of hypertension and clotting that can end in strokes,

aneurysms, or other vascular damage. See Taylor Ardrey, “COVID-19 Autopsy

Study Finds Blood Clots in 'Almost Every Organ', Pathologist Says,” BUSINESS

INSIDER (7/10/2020) [https://www.businessinsider.com/blood-clots-in-

coronavirus-autopsies-nyu-study-2020-7, last visited 3/16/2020].

    Besides these systems directly weakened by smoking, the virus also

ravages livers, kidneys, and even brains. See, e.g., Meredith Wadman, et alia,

“How does coronavirus kill? Clinicians trace a ferocious rampage through the

body, from brain to toes,” SCIENCE MAGAZINE (4/17/2020)

[https://www.sciencemag.org/news/2020/04/how-does-coronavirus-kill-

clinicians-trace-ferocious-rampage-through-body-brain-toes , last visited

3/16/2021].

    The CDC particularly cautions persons with certain pre-existing

conditions, including former smokers and COPD (chronic obstructive

pulmonary disease) sufferers, and those with cardiovascular challenges. See



                                       3


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 3 of 13
CDC, “People of Any Age with Underlying Medical Conditions,” (updated

3/15/2020) [https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html, last visited 3/16/2020].

Everyone, of every age, remains at risk of contracting COVID-19, and not even

surviving seems to guarantee future immunity.

    Wearing face coverings and “social distancing” – remaining at least six

feet away from others – reduce infection risks. See Press Release, “CDC calls

on Americans to wear masks to prevent COVID-19 spread” (7/14/2020)

[https://www.cdc.gov/media/releases/2020/p0714-americans-to-wear-

masks.html, last visited 3/16/2020]; and CDC, “Social Distancing” (updated

11/7/2020) [https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-

sick/social-distancing.html, last visited 3/16/2021]. But even with

containment efforts, the COVID-19 pandemic has claimed over 532,000 U.S.

lives since January 2020, with nearing 30 million persons known to be

infected. See CDC, “Cases in the U.S.,” updated 3/15/2021

[https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html ,

last visited 3/15/2021].

    We cannot know how many around us are infected but undiagnosed



                                       4


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 4 of 13
because they are pre-symptomatic, or asymptomatic, or simply untested.

Thus, former CDC Director Robert Redfield, M.D. last year offered a

“retrospective estimate . . . that there were 10 times more cases than reported

from the period where we’ve been examining antibody data: March through

May.” CDC Press Release, “Dr. Robert R. Redfield Statement on SARS-CoV-2

infections” (7/22/2020) [https://www.cdc.gov/media/releases/2020/s0722-

SARS-CoV-2-infections.html, last visited 3/16/2021].



     B.     BOP’S REACTIONS, AND SYSTEMIC INCAPABILITIES, REGARDING COVID-19

    We don’t know how many inmates and staffers are actually being tested

by the BOP. We don’t know how many vaccinations have gone to whom, or

where. We don’t know how many infected inmates and staffers remain

uncounted because, for example, the BOP simply lacks the tests – or the will –

to confirm likely infections. See, e.g., Walter Pavlo, “Underreporting COVID-19

Outbreaks In Prison,” Forbes (4/1/2020)

[https://www.forbes.com/sites/walterpavlo/2020/04/01/bureau-of-prisons-

underreporting-outbreaks-in-prison/#cb93c747ba32 , last visited 3/15/2021].

    We do know that the still-crowded BOP lacks space to contain suspected



                                       5


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 5 of 13
cases from still-negative inmates, or to quarantine fully the positive from

either group. Inmates are too often left to fashion whatever cloth covers they

can, or keep wearing the tatters of weeks-old masks. Obviously sick and

distressed inmates await test results without any segregation, then often get

quarantined in the Special Housing Unit – the “Hole” – as the only place in the

prison with separate quarters. See, e.g., Malea Martin, “People incarcerated at

the Lompoc penitentiary speak out about how they were treated during one of

the largest COVID-19 prison outbreaks in the nation,” SANTA MARIA (CA) SUN

(8/5/2020) [http://www.santamariasun.com/cover/19854/people-

incarcerated-at-the-lompoc-penitentiary-speak-out-about-how-they-were-

treated-during-one-of-the-largest-covid19-prison-outbreaks-in-the-nation/, last

visited 3/16/2021].

    Employees’ union Council of Prison Locals (“CPL”) C-33, a part of the

American Federation of Government Employees (“AFGE”), complained to the

Occupational Safety and Health Administration (“OSHA”), about the dangers

BOP staffers face.

      Federal prisons are ‘proliferating the spread’ of coronavirus,
      according to a March 31 complaint prison workers have filed with
      the Occupational Safety and Health Administration. The union


                                       6


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 6 of 13
      complaint, obtained by Government Executive, cites “imminent
      danger” conditions at facilities nationwide.

Courtney Bublé, “Federal Prisons Pose ‘Imminent Danger’ in Spreading

COVID-19, Union Says,” GOVERNMENT EXECUTIVE (4/6/2020)

[https://www.govexec.com/oversight/2020/04/federal-prisons-pose-imminent-

danger-spreading-covid-19-union-says/164390/, last visited 3/16/2021].

    “According to Joe Rojas, the Council of Prisons Southeast Regional Vice

President . . . ‘We were never included in any of the phases, which has caused

hostility between labor and management. We should be included so we can

help our staff disseminate information. This is one reason why this agency is

in chaos. No leadership and no direction.’” Walter Pavlo, “As Bureau of

Prisons Enters ‘Phase 9’ Of COVID-19 Plan, BOP Staff Wonder If There Is A

Real Plan,” FORBES (8/7/2020)

[https://www.forbes.com/sites/walterpavlo/2020/08/07/as-bureau-of-

prisons-enters-phase-9-of-covid-19-plan-bop-staff-wonder-if-there-is-a-

real-plan/, last visited 3/16/2021].

    Indeed, BOP’s lack of leadership headlines an Inspector General’s (“OIG”)

blistering critique of Lompoc FCC’s COVID-19 response, literally a continent

away from Joe Rojas’ complaint. See USDOJ-OIG, Evaluation and Inspections


                                       7


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 7 of 13
Division Rep. 20-086, “Pandemic Response Report: Remote Inspection of

Federal Correctional Complex Lompoc,” at 9-10 (7/23/2020)

[https://oig.justice.gov/sites/default/files/reports/20-086_0.pdf, last visited

3/16/2021]. Pre-existing shortages of medical and correctional staff also

contributed to uncontrolled explosions in Lompoc’s COVID-19 infections. See

id., at 8.



 C.      BOP’S UNDERSTAFFED AND UNDER-RESOURCED HEALTH CARE SYSTEM COULD NOT
               MEET BASIC NEEDS EVEN BEFORE THE NOVEL COVID-19 PANDEMIC

      For decades the BOP has struggled with a chronic and deadly shortage of

medical resources, “insufficient numbers of physicians and nursing staff to

perform required clinical and other related tasks.” General Accounting Office

(“GAO”), Bureau of Prisons Health Care: Inmates’ Access to Health Care is

Limited by Lack of Clinical Staff, GAO/HEHS-94-36, February 10, 1994, at 2

[http://archive.gao.gov/t2pbat4/151025.pdf , last visited 3/16/2021].

      Chief among the BOP’s concerns is how “to contain inmate health care

costs and increase efficiency of services.” GAO, Federal Prisons: Responses to

Questions Related to Containing Health Care Costs for an Increasing Inmate

Population, GGD-00-160R, June 14, 2000, at 4

                                        8


       Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 8 of 13
[https://www.gao.gov/products/ggd-00-160r, last visited 3/16/2021]. The

result has been, among other problems, a reliance on paraprofessionals,

rather than more highly-paid physicians. GAO, Responses to Questions Related

to Containing Health Care Costs, GGD-00-160R, at 2.

    A 2008 Inspector General’s audit found the BOP’s cost-cutter health care

effectively contained cost-per-inmate, but “each of the BOP institutions we

tested did not always provide recommended preventive health care to

inmates.” USDOJ-OIG, Federal Bureau of Prison’s [sic] Efforts to Manage Inmate

Health Care, Audit Report 08-08 (Feb 2008), at ii

[http://www.justice.gov/oig/reports/BOP/a0808/final.pdf , last visited

3/16/2021].

    Further, “BOP institutions did not consistently provide medical services

recommended by BOP guidelines to inmates.” Efforts to Manage Inmate

Health Care, Audit Report 08-08, at 15. Just five years ago, the OIG still “found

that limited institution staff and inadequate staff training affect the BOP’s

ability to address the needs of aging inmates.” OIG, Evaluation and

Inspections Division “Impact of an Aging Inmate Population on the Federal

Bureau of Prisons,” at i, Report 15-05 (May 2015)


                                        9


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 9 of 13
[https://oig.justice.gov/reports/2015/e1505.pdf , last visited 3/16/2021].

    Understaffing, and the resulting misuse of remaining, over-extended

resources, permeated another OIG report two years later. See “Review of the

Federal Bureau of Prisons’ Medical Staffing Challenges,” Rep. 16-02 (March

2016) [https://oig.justice.gov/reports/2016/e1602.pdf , last visited

3/16/2021]. BOP pay and benefits cannot compare to private sector earnings,

diminishing an already thin applicant pool and forcing the BOP to go – at

higher cost – to contracted physicians and other specialists (when available).

    The BOP has actively recruited for personnel, for prisons across the

country, for over a year. See, e.g., BOP, “Recruitment Incentive Location

Update: Bureau of Prisons continues hiring nationwide”

[https://www.bop.gov/resources/news/20190723_recruitment_incentive_locati

on_update.jsp , updated 7/23/2019, last visited 3/16/2021]; and “Work on the

Inside,” [https://www.bop.gov/jobs/, last visited 3/16/2021]. But BOP

medical cadres remain understaffed even for remedial needs, decades after

recognizing chronic shortages of medical resources.

    That same health care system cannot claim to be anything but

overwhelmed by the still largely unrestained novel virus now infecting an


                                       10


    Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 10 of 13
unknown number of inmates and staffers (and staff families).




                                D.    CONCLUSION

    According to the BOP.gov website, as of March 16, 2020, the BOP has

125,146 federal inmates in BOP-managed institutions and 13,617 in

community-based facilities. The BOP staff complement is approximately

36,000. Of those persons, 501 federal inmates and 1,391 BOP staff nationwide

have confirmed positive COVID-19 test results. Currently, 47,173 inmates and

5,246 staff have allegedly recovered, while 225 federal inmate and four BOP

staffer deaths are attributed to COVID-19.

    Pandemic mitigation tactics like “social distancing” and “sheltering at

home” are not possible in a prison setting. Inmates are stacked atop one

another at night, chronically pressed together all day, and forced to share

high-touch items like phones, showers, toilets and computer terminals.

Extended imprisonment today is, at some point, to face exposure.

    We do not yet know how and how many the virus will affect, including

permanently, even amongst we who can take precautions. We know that

inmates are figurative fish in a barrel, locked in the close quarters of aging,


                                        11


     Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 11 of 13
under-sanitized, and often poorly-ventilated prisons.

    There is no “public safety” reason to hurry this compliant, self-

surrendering defendant into prison, especially when the precautionary

measures of vaccination could protect him in a matter of weeks. This move

would also help to protect staff and inmates at Strohm’s designated prison.

    We therefore ask the Court to allow Mr. Strohm time for COVID-19

vaccination, which in turn will also address his remaining family, children, and

personal matters. We ask for a surrender date of Tuesday, June 15, 2021.



   Respectfully submitted this March 16, 2021.


                        By:   ___/s/ EJ HURST II___________________
                              EJ Hurst II (NC Bar No. 39261)
                              Attorney at Law
                              1890 Star Shoot Parkway
                              Suite 170, PMB 371
                              Lexington, Kentucky 40509
                              Tel: (859) 361-8000
                              Fax: (866) 876-7269
                              Email: jayhurst@jayhurst.net


                              Attorney for Defendant Strohm




                                       12


    Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 12 of 13
                         CERTIFICATE OF SERVICE

   I hereby certify this 16th day of March, 2021, that I served a copy of the
foregoing Defendant Strohm’s Memorandum in Support of Motion to
Extend Self-Surrender Date in accordance with the Court’s CM/ECF system.


                        By:   ___/s/ EJ HURST II___________________
                              EJ Hurst II (NC Bar No. 39261)
                              Attorney at Law
                              1890 Star Shoot Parkway
                              Suite 170, PMB 371
                              Lexington, Kentucky 40509
                              Tel: (859) 361-8000
                              Fax: (866) 876-7269
                              Email: jayhurst@jayhurst.net


                              Attorney for Defendant Strohm




                                      13


    Case 1:20-cr-00041-MR-DCK Document 34 Filed 03/16/21 Page 13 of 13
